Filed 06/18/19                           Case 19-21640                             Doc 60



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Debora Leigh Miller-    Case No.: 19-21640 - B - 13
           Zuranich
                                               Docket Control No. JPJ-1
                                               Date: 06/18/2019
                                               Time: 1:00 PM

           Matter: [35] - Motion/Application to Dismiss Case [JPJ-1] Filed by
           Trustee Jan P. Johnson (kwis)

           Judge: Christopher D. Jaime
           Courtroom Deputy: Danielle Mobley
           Reporter: Electronic Record
           Department: B
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           Trustee's Attorney - Kristen Koo
           Respondent(s):
           Debtor's Attorney - Peter L. Cianchetta
           _____________________________________________________________________
                                         CIVIL MINUTES


           Motion Conditionally denied
           See Findings of fact and conclusions of law below
           The court’s decision is to conditionally deny the motion to dismiss
           for reasons stated on the record in open court. The Debtor has 10
           days to convert this case to a Chapter 11. If the Debtor fails to do
           so, the case will be dismissed on the Trustee’s ex parte application.
           The court will enter a minute order.
